
*1333OPINION.
Abtjndell :
The facts developed in this case bring it within the principle of Great Northern Ry. Co., 8 B.T.A. 225, wherein we held that the taxpayer was not required to include uncollectible interest in income even though its books were kept on the accrual basis. The evidence in this case establishes to our entire satisfaction not only that the rentals were uncollectible in full within the year when due, but also that collection in the future was highly improbable *1334and that petitioner’s officers were fully aw'are of this situation before the close of the fiscal year 1930. Following the Great Northern case, swpra, we hold that it was error to include in income any more than the amount of $39,000 actually received as rentals. See to the same effect, Turners Falls Power &amp; Electric Co., 15 B.T.A. 983; Sowers Mfg. Co., 16 B.T.A. 268.

Decision will be entered under Rule 50.

